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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                                                                   11-CR-1032-74 (PAE)
                        -v-
                                                                          ORDER
 ANDY CIPRIAN,

                                      Defendant.


PAUL A. ENGELMAYER, District Judge:

       The Court has received a pro se motion from Andy Ciprian, Dkt. 2560, which the Court

treats as a motion for compassionate release. The Court reappoints Mr. Ciprian’s most recent

trial counsel, Kenneth J. Montgomery, Esq., for the purpose of submitting a letter memorandum

in support of Mr. Ciprian’s motion. That memorandum is due by January 20, 2021. The

Government’s response is due by January 27, 2021.

       As Mr. Montgomery does not appear to be receiving ECF notifications for this matter, the

Court is emailing this order today to Mr. Montgomery, and asks Mr. Montgomery promptly to

file a notice of appearance.

       SO ORDERED.



                                                         PaJA.�
                                                    __________________________________
                                                          PAUL A. ENGELMAYER
                                                          United States District Judge
Dated: December 30, 2020
       New York, New York
